 Case 1:18-cv-00950-LO-JFA Document 131 Filed 04/08/19 Page 1 of 5 PageID# 3006



                             UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF VIRGINIA


SONY MUSIC ENTERTAINMENT, et al.,

         Plaintiffs,

v.
                                                      Case No. 1:18-cv-00950-LO-JFA
COX COMMUNICATIONS, INC., et al.,

         Defendants.



             PLAINTIFFS’ MEMORANDUM IN SUPPORT OF THEIR MOTION TO
                             AMEND THE COMPLAINT

            Pursuant to Federal Rule of Civil Procedure 15(a), Plaintiffs Sony Music Entertainment,

     Arista Music, Arista Records LLC, LaFace Records LLC, Provident Label Group, LLC, Sony

     Music Entertainment US Latin, Volcano Entertainment III, LLC, Zomba Recordings LLC,

     Sony/ATV Music Publishing LLC, EMI Al Gallico Music Corp., EMI Algee Music Corp., EMI

     April Music Inc., EMI Blackwood Music Inc., Colgems-EMI Music Inc., EMI Consortium Music

     Publishing Inc. d/b/a EMI Full Keel Music, EMI Consortium Songs, Inc., individually and d/b/a

     EMI Longitude Music, EMI Feist Catalog Inc., EMI Miller Catalog Inc., EMI Mills Music, Inc.,

     EMI Unart Catalog Inc., EMI U Catalog Inc., Jobete Music Co. Inc., Stone Agate Music, Screen

     Gems-EMI Music Inc., Stone Diamond Music Corp., Atlantic Recording Corporation, Bad Boy

     Records LLC, Elektra Entertainment Group Inc., Fueled By Ramen LLC, Nonesuch Records Inc.,

     Roadrunner Records, Inc., Warner Bros. Records Inc., Warner/Chappell Music, Inc., Warner-

     Tamerlane Publishing Corp., WB Music Corp., W.B.M. Music Corp., Unichappell Music Inc.,

     Rightsong Music Inc., Cotillion Music, Inc., Intersong U.S.A., Inc., UMG Recordings, Inc.,

     Capitol Records, LLC, Universal Music Corp., Universal Music – MGB NA LLC, Universal

     Music Publishing Inc., Universal Music Publishing AB, Universal Music Publishing Limited,
Case 1:18-cv-00950-LO-JFA Document 131 Filed 04/08/19 Page 2 of 5 PageID# 3007



Universal Music Publishing MGB Limited, Universal Music – Z Tunes LLC, Universal/Island

Music Limited, Universal/MCA Music Publishing Pty. Limited, Universal – Polygram

International Tunes, Inc., Universal – Songs of Polygram International, Inc., Universal Polygram

International Publishing, Inc., Music Corporation of America, Inc. d/b/a Universal Music Corp.,

Polygram Publishing, Inc., Rondor Music International, Inc., and Songs of Universal, Inc.,

(collectively, “Plaintiffs”), respectfully submit this memorandum of law in support of their Motion

to Amend Complaint.

       A proposed First Amended Complaint is attached hereto as Exhibit 1 with amended

exhibits thereto. This amendment does not add any new parties, works or claims. The motion is

timely under the Court’s scheduling orders and, under the applicable legal standard for motions to

amend, good cause exists to amend the Complaint.

                                        BACKGROUND

       Plaintiffs filed this action on July 31, 2018 seeking to hold Cox Communications, Inc. and

CoxCom, LLC (collectively, “Cox”) contributorily and vicariously liable for infringement of their

copyrights from February 2013 through November 2014. Complaint, ECF No. 1. Plaintiffs allege

that Cox knew its subscribers were uploading and downloading Plaintiffs’ copyrighted works

without authorization and allowed them to continue doing so unfettered. Id., ¶ 88. Plaintiffs

further allege that Cox knew of the infringement because Plaintiffs sent thousands of infringement

notices identifying specific infringements by specific subscribers. Id., ¶¶ 2, 91. Yet, Cox

arbitrarily capped the number of infringement notices it would receive and failed to implement

procedures to address known infringements and infringers. Id., ¶¶ 92, 96-103.

       Count I of the Complaint alleges contributory liability because Cox knew of and materially

contributed to specific infringements. Complaint, ¶¶ 104-10. Count II alleges vicarious liability

because Cox had the right and ability to control the infringing activity occurring through its



                                                2
Case 1:18-cv-00950-LO-JFA Document 131 Filed 04/08/19 Page 3 of 5 PageID# 3008



network and derived a direct financial benefit from the infringement. Id., ¶¶ 113-19. Exhibits A

and B to the original Complaint identify 7,203 sound recordings and 3,526 musical compositions,

respectively, that Plaintiffs allege Cox infringed secondarily.                As explained in the original

Complaint, the sound recordings listed on Exhibit A and musical compositions listed on Exhibit B

are both illustrative and non-exhaustive.

        The proposed amendments include updating certain copyright registration numbers and

work titles, updating the Plaintiffs that own or control certain works in suit (primarily due to

corporate transactions), and amending out works on which Plaintiffs are no longer pursuing claims.

The First Amended Complaint also includes minor edits to the narrative complaint to clarify the

claim period and to conform the named Plaintiffs to the amended work lists. These amendments

will benefit the parties and the Court by advancing allegations based upon the most currently

available information.1 This amendment does not add any new parties, works or claims.

                                                ARGUMENT

        Rule 15(a) provides that the “Court should freely give leave” to amend a pleading “when

justice so requires.” Fed. R. Civ. P. 15(a)(2); see also Foman v. Davis, 371 U.S. 178, 182 (1962)

(noting that, in the absence of any apparent or declared reason, leave to amend should be freely

given as the rules require); Harless v. CSX Hotels, Inc., 389 F.3d 444, 447 (4th Cir. 2004). A lack

of prejudice to the nonmoving party, alone, ordinarily warrants granting leave to amend. Ward

Elec. Serv., Inc. v. First Commercial Bank, 819 F.2d 496, 497 (4th Cir. 1987). The reasons to

amend the complaint in this case are more than adequate under this liberal standard.

        The original Complaint includes claims by 58 Plaintiffs involving 10,729 works in suit.

Since that time, Plaintiffs have identified minor adjustments to the list of works in suit. The


1 As with the original Complaint, the revised Exhibits A and B are representative lists of Plaintiffs’ sound
recordings and musical compositions that Cox is known to have infringed and not intended to be an exhaustive list
of Cox’s infringement of Plaintiffs’ copyrights.



                                                        3
Case 1:18-cv-00950-LO-JFA Document 131 Filed 04/08/19 Page 4 of 5 PageID# 3009



amendments to the narrative Complaint are minor and seek to clarify information, rather than

materially edit or amend substantive matters. For example, whereas the original Complaint sought

“relief for claims of infringement that accrued from February 2013 through November 2014,”

Complaint, ¶ 10, the First Amended Complaint clarifies the claim period as “February 1, 2013

through November 26, 2014.” Proposed Amended Complaint, ¶ 10. In sum, the First Amended

Complaint includes claims by 53 Plaintiffs involving 10,520 works in suit.

       The Foman Court explained that “[i]n the absence of any apparent or declared reason –

such as undue delay, bad faith or dilatory motive on the part of the movant, repeated failure to cure

deficiencies by amendments previously allowed, undue prejudice to the opposing party by virtue

of allowance of the amendment, futility of amendment, etc.,” leave to amend “should, as the rules

require, be ‘freely given.’” 371 U.S. at 182. Plaintiffs’ motion is timely in the overall procedural

context of the case. The Court’s Scheduling Order expressly permits motion to amend the

Complaint on or before April 8, 2019. ECF No. 53 (Proposed Joint Discovery Plan); ECF No. 60

(Rule 16(b) Scheduling Order adopting the parties’ proposed stipulated schedule). More than two

months remain before the close of discovery on June 14, 2019. ECF. No. 60 at ¶ 1. Cox has not

yet taken any depositions of Plaintiffs witnesses and therefore has adequate opportunity for

discovery on the First Amended Complaint. There has been no undue delay on Plaintiffs’ part and

Cox will not be prejudiced by the amendment.

       Furthermore, there is good cause for the amendment in that narrowing and clarifying the

work lists and certain factual allegations will assist the determination of Plaintiffs’ claims on the

merits. Moreover, there can be no issue of futility, as the conduct and substantive claims alleged

have not changed. This amendment does not add any new parties, works or claims.

                                         CONCLUSION

       For the foregoing reasons, Plaintiffs respectfully request that the Court grant the Motion



                                                 4
Case 1:18-cv-00950-LO-JFA Document 131 Filed 04/08/19 Page 5 of 5 PageID# 3010



for Leave to Amend the Complaint.


 Dated April 8, 2019                       Respectfully Submitted,

                                           /s/ Scott A. Zebrak /
                                           Scott A. Zebrak (38729)
                                           Matthew J. Oppenheim (pro hac vice)
                                           Jeffrey M. Gould (pro hac vice)
                                           OPPENHEIM + ZEBRAK, LLP
                                           4530 Wisconsin Avenue, NW, 5th Floor
                                           Washington, DC 20015
                                           Tel: 202-480-2999
                                           scott@oandzlaw.com
                                           matt@oandzlaw.com
                                           jeff@oandzlaw.com

                                           Attorneys for Plaintiffs




                                      5
